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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 CELLULAR COMMUNICATIONS                   §
 EQUIPMENT LLC,                            §
                                           §
        Plaintiff,                         §         C.A. No. 2:20-cv-00078-JRG
                                           §
 v.                                        §         JURY TRIAL DEMANDED
                                           §
 HMD GLOBAL OY,                            §
                                           §
         Defendant.                        §




      P.R. 4-3 JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

       Pursuant to P. R. 4-3 and the Court’s Docket Control Order, Plaintiff Cellular

Communications Equipment LLC and Defendant HMD Global Oy file this joint claim

construction and prehearing statement.
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   1. The construction of those claim terms, phrases, or clauses on which the parties agree;

        The Parties agree to the construction of the following claim terms for U.S. Patent No.

7,218,923:

                    Claim Term                                  Agreed Construction

 “diverting” (claims 1, 8)                            Plain and ordinary meaning
 “based on the message” (claim 1)                     Plain and ordinary meaning
 “controlling” (claims 1, 3-4)                        Plain and ordinary meaning
 “behaves in a predetermined manner” (claim 1)        Plain and ordinary meaning
 “controlling entity” (claims 1, 3-4, 8)              “a software component, separate from a
                                                      component that diverts the message, that
                                                      is configured to control whether the
                                                      application program behaves in a
                                                      predetermined manner”

   2.   Each party’s proposed claim construction or indefiniteness position for each

        disputed claim term, phrase, or clause, together with an identification of all

        references from the specification or prosecution history that support that position,

        and an identification of any extrinsic evidence known to the party on which it intends

        to rely either to support its position or to oppose any other party’s position, including,

        but not limited to, as permitted by law, dictionary definitions, citations to learned

        treatises and prior art, and testimony of percipient and expert witnesses;

        Plaintiff’s identification of proposed constructions and supporting evidence is attached

hereto as Exhibit A.

        Defendant’s identification of proposed constructions and supporting evidence is attached

hereto as Exhibit B.




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   3. The anticipated length of time necessary for the Claim Construction Hearing;

       The parties anticipate 2 hours as the total length of time necessary for the claim

construction hearing.

   4. Whether any party proposes to call one or more witnesses, including experts, at the

       Claim Construction Hearing;

       At this time, the parties do not intend to call any witnesses at the claim construction hearing.

   5. A list of any other issues which might appropriately be taken up at a prehearing

       conference prior to the Claim Construction Hearing, and proposed dates, if not

       previously set, for any such prehearing conference.

       At this time, the parties have no issues that might appropriately be taken up at a prehearing

conference prior to the Claim Construction Hearing.




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Dated: November 25, 2020                           Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on November 25, 2020. As of this date all

counsel of record have consented to electronic service and are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).


                                                                 /s/ Jerry D. Tice II
                                                                 Jerry D. Tice II


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